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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
AKORN, INC., et al.,1                                             )   Case No. 20-11177 (KBO)
                                                                  )
                                   Debtors.                       )   (Jointly Administered)
                                                                  )
                                                                  )   Objection Deadline: June 8, 2020 at 4:00 p.m. (ET)
                                                                  )   Hearing Date: June 15, 2020 at 2:30 p.m. (ET)
                                                                  )
                                                                  )   Re: Docket Nos. 9 & 73
                                                                  )

 NOTICE OF (A) ENTRY OF INTERIM ORDER (I) AUTHORIZING THE DEBTORS
 TO MAINTAIN AND ADMINISTER THEIR EXISTING CUSTOMER PROGRAMS
AND HONOR CERTAIN PREPETITION OBLIGATIONS RELATED THERETO, AND
   (II) GRANTING RELATED RELIEF;AND (B) FINAL HEARING THEREON


                   PLEASE TAKE NOTICE that, on May 21, 2020, the above-captioned debtors

and debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion Seeking Entry

of Interim and Final Orders (I) Authorizing the Debtors to Maintain and Administer Their

Existing Customer Programs and Honor Certain Prepetition Obligations Related Thereto, and

(II) Granting Related Relief [Docket No. 9] (the Motion”) with the United States Bankruptcy

Court for the District of Delaware (the “Court”). A copy of the Motion is attached hereto as

Exhibit A.

                   PLEASE TAKE FURTHER NOTICE that, following an initial hearing to

consider the Motion on May 22, 2020, the Court entered the Interim Order (I) Authorizing the

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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, if any, are: Akorn, Inc. (7400); 10 Edison Street LLC (7890); 13 Edison Street LLC; Advanced Vision
    Research, Inc. (9046); Akorn (New Jersey), Inc. (1474); Akorn Animal Health, Inc. (6645); Akorn
    Ophthalmics, Inc. (6266); Akorn Sales, Inc. (7866); Clover Pharmaceuticals Corp. (3735); Covenant Pharma,
    Inc. (0115); Hi-Tech Pharmacal Co., Inc. (8720); Inspire Pharmaceuticals, Inc. (9022); Oak Pharmaceuticals,
    Inc. (6647); Olta Pharmaceuticals Corp. (3621); VersaPharm Incorporated (6739); VPI Holdings Corp. (6716);
    and VPI Holdings Sub, LLC. The location of the Debtors’ service address is: 1925 W. Field Court, Suite 300,
    Lake Forest, Illinois 60045.


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Debtors to Maintain and Administer Their Existing Customer Programs and Honor Certain

Prepetition Obligations Related Thereto, and (II) Granting Related Relief [Docket No. 73] (the

“Interim Order”). A copy of the Interim Order is attached hereto as Exhibit B.

                   PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order,

objections or responses to the final relief requested in the Motion, if any, must be made in

writing and filed with the Court on or before June 8, 2020 at 4:00 p.m. (prevailing Eastern

Time) and shall be served on: (a) the Debtors, Akorn, Inc., 1925 W. Field Court, Suite 300,

Lake Forest, Illinois 60045 Attn: Joseph Bonaccorsi; (b) proposed counsel to the Debtors,

Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Patrick J.

Nash, Jr., P.C., Gregory F. Pesce, and Christopher M. Hayes, and Kirkland & Ellis LLP, 601

Lexington Avenue, New York, New York 10022, Attn: Nicole L. Greenblatt, P.C.; (c) proposed

co-counsel to the Debtors, Richards, Layton & Finger, P.A., 920 N. King Street, Wilmington,

Delaware 19801, Attn: Paul N. Heath; (d) the United States Trustee, 844 King Street, Suite

2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Jane M. Leamy; (e) counsel to any

statutory committee appointed in these chapter 11 cases; and (f) counsel to the Ad Hoc Group,

Gibson, Dunn & Crutcher LLP, 200 Park Avenue, New York, NY 10166, Attn: Scott J.

Greenberg and Steven A. Domanowski.

                   PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order, the

final hearing with respect to the Motion, if required, will be held before The Honorable Karen B.

Owens, United States Bankruptcy Judge for the District of Delaware, at the Court, 824 North

Market Street, 6th Floor, Courtroom 3, Wilmington, Delaware 19801 on June 15, 2020 at 2:30

p.m. (prevailing Eastern Time).




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                   PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS TO THE

MOTION ARE TIMELY FILED IN ACCORDANCE WITH THIS NOTICE, THE COURT

MAY GRANT THE FINAL RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER

NOTICE OR HEARING.

Wilmington, Delaware
May 22, 2020

/s/ Amanda R. Steele
RICHARDS, LAYTON & FINGER, P.A.                 KIRKLAND & ELLIS LLP
Paul N. Heath (No. 3704)                        KIRKLAND & ELLIS INTERNATIONAL LLP
Amanda R. Steele (No. 5530)                     Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
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Proposed Co-Counsel for the                     KIRKLAND & ELLIS LLP
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                                                Proposed Co-Counsel for the
                                                Debtors and Debtors in Possession




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